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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT


JOHN DOE,                                 CIVIL ACTION NO.:
                                          3:19-cv-00620 AWT
Plaintiff,

       vs.                                REQUEST TO ENTER DEFAULT
YALE UNIVERSITY, MARVIN
CHUN, JOHN MAYES, JORDAN
PILANT, MARIA PIÑANGO, MARK
SOLOMON, JORDON WHITE,
ANGELA GLEASON.                           July 1, 2019
Defendants.




To the Clerk of the United States District Court, District of Connecticut:

Plaintiff John Doe, hereby requests that the Clerk of the above-entitled Court enter
default in this matter against defendants YALE UNIVERSITY, MARVIN CHUN,

JOHN MAYES, JORDAN PILANT, MARIA PIÑANGO, MARK SOLOMON,
JORDON WHITE, ANGELA GLEASON, on the ground that said defendants have
failed to appear or otherwise respond to the complaint within the time prescribed by

the Federal Rules of Civil Procedure.


The aforementioned Defendants filed a waiver of service of summons on April 29,
2019, evidenced by Docket number 16 in this case. The waiver extended the
required time to file a responsive pleading to 60 days of filing the waiver. 60 days
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                                                         Request to Enter Default of All Defendants
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expired on June 28, 2019. The waiver signed by Counsel for the Defendants stated
in relevant part:
     I also understand that I, or the entity I represent, must file and serve an
     answer or a motion under Rule 12 within 60 days from April 29,
     2019, the date when this request was sent (or 90 days if it was sent
     outside the United States). If I fail to do so, a default judgment will be
     entered against me or the entity I represent.
Docket 16 at p. 2.
No responsive pleading has been filed from any Defendant in this case.
The above stated facts are set forth in the accompanying declaration of Jorge I.
Hernandez, filed herewith.


Dated this 1st day of July, 2019.
                                                            THE PLAINTIFF
                                                            /s/ Jorge I. Hernandez
                                                            JORGE I. HERNANDEZ, Esq.
                                                            823 ANCHORAGE PLACE
                                                            CHULA VISTA, CA 91914
                                                            Jorge@JIHLAW.com
                                                            619-475-6677
                                   CERTIFICATION
I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically. Notice of this filing will be sent by e-mail to all parties by operation
of the court’s electronic filing system as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.
                                                                     /s/Jorge I. Hernandez

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                                                                                 Request to Enter Default of All Defendants
